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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


    SCOTT LOUIS PANETTI
                                                            §
                                                            §
                      Petitioner,
                                                            §
                                                                       Case No.
                                                            §
                                                                       1:04-CV-00042-RP
                                                            §
    V.
                                                            §
                                                                        *Capital Case*
                                                            §
                                                            §
    BOBBY LUMPKIN,
                                                            §
    Director, Texas Department of
                                                            §
    Criminal Justice, Correctional
                                                            §
    Institutions Division
                                                            §
                                                            §
                      Respondent.
                                                            §

     AMENDED MOTION FOR 8-DAY EXTENSION OF TIME--UNOPPOSED 1

           Undersigned counsel respectfully requests an extension of eight days to the

present deadline for Petitioner and Respondent to file their post-hearing briefs in

the above captioned case. If the request is granted, the briefs of both parties will be

due February 17, 2023. Neither party has previously asked for an extension of time,

and the present request is not sought for any improper purpose, including

unnecessary delay. Respondent does not oppose the motion.

            In support of the motion, Petitioner states the following:

           Following a three-day evidentiary hearing in late October, 2022, this Court

requested simultaneous post-hearing briefing from both parties to be filed 60 days

after the hearing transcripts were made available. At the time, this Court cited the


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    This motion is amended to reflect that the Respondent does not oppose the requested extension of time.

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holidays as one reason to allow 60 days. Transcripts were produced on December 11,

2022, making the deadline for briefs February 9, 2023.

      The requested eight-day extension of time is necessary for several reasons.

First, Petitioner’s counsel Timothy Gumkowski, who conducted much of the

evidentiary hearing that is the subject of the briefing, has withdrawn from

Petitioner’s case. New counsel, Amy Fly from the Capital Habeas Unit of the Office

of the Federal Public Defender for the Western District of Texas, filed her notice of

appearance in this case today. Second, undersigned counsel’s ability to work on

Petitioner’s briefing was impaired by the death of a loved one in early February.

Third, Petitioner’s counsel Donna Coltharp must prepare for and attend her son’s

wedding the day the briefing is currently due. The wedding date was not set until

after the evidentiary hearing. Fourth, Ms. Coltharp’s ability to work on Petitioner’s

brief has been further impaired by another major filing due today. Fifth, the parties

were further impacted by the extended power outages in Central Texas caused by

the ice storms in late January and early February further impacted the parties.

      As such, Petitioner requests this Court grant a eight-day extension to allow

both parties to file their post-hearing briefs on February 17, 2023.


DATED: February 7, 2022                 Respectfully submitted,


                                        /s/ Donna F. Coltharp
                                        DONNA F. COLTHARP
                                        Texas Bar Number 24001909
                                        AMY FLY
                                        Pennsylvania Bar Number 327621
                                        Assistant Federal Defenders


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                           Counsel for Petitioner




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                       CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Petitioner contacted Jay Clendenin, counsel
for Respondent, regarding the foregoing motion on February 7, 2023. Mr. Clendenin
does not oppose an eight-day extension of time.


                                        /s/ Donna F. Coltharp
                                        DONNA F. COLTHARP



                           CERTIFICATE OF SERVICE

      I hereby certify that on February 7, 2022, I electronically filed the foregoing

Motion for a 8-day Extension of Time with the Clerk of Court using the CM/ECF

system which will send notification of such filing to the following:

             Jay D. Clendenin
             Assistant Attorney General
             P.O. Box 12548
             Austin, Texas 78711
             (512) 936-1280
             Jay.clendenin@oag.texas.gov


                                        /s/ Donna F. Coltharp
                                        DONNA F. COLTHARP




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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION


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                                          §
                                          §
              Respondent.
                                          §




                               PROPOSED ORDER

      On this date, the Court considered Petitioner Scott Louis Panetti’s Amended

Motion for 8-Day Extension of Time—Unopposed. Having considered the motion,

the Court finds that it is meritorious and should be granted. Accordingly, the

motion to extend time is GRANTED, and the post hearing briefs of both parties are

due on February 17, 2023.


SIGNED AND ENTERED the ________ day of February, 2023.



                                              _________________________________
                                              Hon. Robert L. Pitman
                                              United States District Judge



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